Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 1 of 34 PagelD 18

EXHIBIT 1

Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 2 of 34 PagelD 19

AO 91 (Rev. 11/I1) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida
United States of America )
v. )
Case No. DY
ALEX JARED ZWIEFELHOFER and ) Zp) fKF).
CRAIG AUSTIN LANG atom. (09 ¥-f? f
)
_ . _ )
Defendant(s)
CRIMINAL COMPLAINT
‘J, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 9, 2018 in the county of Lee in the
Middle District of Florida , the defendant(s) violated:
Code Section . Offense Description
18 U.S.C. § 1951(a); 1) Conspiracy to Interfere with Commerce by Violence;
18 U.S.C. §§ 924(c)(1)(A)(iii), ()(1) 2) Interference with Commerce by Violence;
and (0). 3) Conspiracy to Use a Firearm During a Crime of Violence;

4) Use and Discharge of a Firearm During and in Relation to a Crime of |
Violence, Which Resulted in Murder

A TRUE
1 CERTIFY THE FOREGOING TO BE
AND CORRECT COPY OF THE ORIGINAL

This criminal complaint is based on these facts: UNITED STATES DISTRICT court

See Attached Affidavit of FBI Special Agent James Roncinske MIDD: DISTRICT OF FLORID ,
. BY: 4 A LLL, AL.

DEPUTY CLERK -o :

% Continued on the attached sheet.

va | .

Complainant's signature

James M. Roncinske, Special Agent, FBI.

Printed name and title

Sworn to before me and signed in my presence.

Judge' 5 signature

Date: G-1b- G J Liha 2 Lull

City and state: Ft. Myers, Florida Nicholas P. Mizell, U.S. Magistrate Judge

Printed name and title
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 3 of 34 PagelD 20

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, James M. Roncinske, hereby depose and state:

1, I am employed by the Federal Bureau of Investigation (FBI) as a
Special Agent (SA) and have been so employed since October 1999. As such, Iam
an investigative law enforcement officer within the meaning of 18 U.S.C. § 2510(7),
that is, 1am an officer of the FBI empowered by law to conduct investigations of,
and to make arrests for, offenses enumerated in 18 U.S.C. § 2516. I am currently
assigned to the FBI’s Tampa Division, Fort Myers Resident Agency. Before
becoming an FBI Special Agent, I was employed as a police officer for the City of
Rochester, New York for nine years.

2. As both a police officer and an FBI Special Agent, I have received
extensive training and experience in conducting robbery investigations, and in
particular, those that have a Federal nexus such as violations of 18 U.S.C. § 1951

(Interference with Commerce by Violence) and 18 U.S.C. § 924(c)(1)(A) (Use ofa

Firearm During and in Relation to a Crime of Violence).

E

DEPUTY CLERK

3. This affidavit is based on information personally known to me oB a
S& &
. < &
provided to me by other law enforcement officers in the course of this investiga tin. 5 A)
oO
Fd oN
Because it is being submitted for the limited purpose of establishing probable gakiise, z us >
. 5 oO baa os
have not included all of the facts known to me concerning this matter. wy x a BS
ee Pat
4, I submit this affidavit in support of a Criminal Complaint chargthg anth a
> & INR.
ALEX JARED ZWIEFELHOFER (“ZWIEFELHOFER”) and CRAIG An INE =
us x
mmit

LANG (“LANG”) with violations of 18 U.S.C. § 1951(a) (Conspiracy to Cd
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 4 of 34 PagelD 21

Interference with Commerce by Violence); 18 U.S.C. §§ 1951(a) and 2 (Interference
with Commerce by Violence); and 18 U.S.C. §§ 924(c)(1)(A) (ii), (j and (0)
(Conspiracy to Use and Carry a Firearm During and In Relation to a Crime of
Violence) (Use and Discharge of a Firearm During and in Relation to.a Crime of
Violence, which caused the death of a person).

5. _ Based on the information contained herein, probable cause exists to
believe that LANG and ZWIEFELHOFER conspired to commit and committed a
crime of violence that interfered with interstate commerce, namely robbery, and
conspired to use and carry and did use and carry a firearm during and in relation to
that crime of violence resulting in the discharge of a firearm that caused the death of
a person, in violation of the above-referenced statutes. Specifically, on April 9, 2018, ©
at 9351 Corkscrew Road, Estero, Lee County, Florida, LANG and
ZWIEFELHOFER committed an armed robbery of S.L., a 53-year-old male, and his
51-year-old wife D.L., both of Brooksville, Florida, and during the course of the
armed robbery, murdered S.L. and D.L. through the use and discharge of firearms.
Further, I have probable cause to believe that LANG and ZWIEFELHOF ER
conspired to commit and committed these crimes to obtain U.S. currency to fund
travel to Venezuela to participate in an armed conflict against the Bolivarian _
Republic of Venezuela.

BACKGROUND OF THE DEFENDANTS
6. LANG is a 29-year-old white male who was born in North Carolina.

Department of Defense (DOD) records indicate that LANG entered on duty with the
2
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 5 of 34 PagelID 22

United States Army on November 25, 2008, and was discharged on June 4, 2014.
The FBI’s Legal Attache Office in Kyiv, Ukraine, was able to determine from
Ukrainian authorities that LANG is currently residing in Ukraine.

7. ZWIEFELHOFER is a 22-year-old white male who was born in
Wisconsin. DOD records indicate that ZWIEFELHOFER entered on duty with the
United States Army on April 21, 2015, but went Absent Without Leave (AWOL)
from the Army on September 27, 2016. The Army discharged ZWIEFELHOFER on
February 16, 2018. He is currently in the custody of the United States Marshals
Service in Madison, Wisconsin, pending resolution of a separate federal offense
brought in the Western District of Wisconsin.

8, In June 2017, LANG and ZWIEFELHOFER came to the attention of
authorities at the United States Embassy in Nairobi, Kenya, as the two were
detained by Kenyan authorities trying to enter the South Sudan. LANG and -
ZWIEFELHOFER were both eventually deported to the United States.

9, On J uly 12, 2017, LANG arrived at George Bush Intercontinental
Airport in Houston, Texas, where he was interviewed by a Customs and Border
Protection (CBP) officer. LANG told the CBP officer that he had been a soldier and
military advisor to the Ukraine Army since 2015. LANG advised the CBP officer
that “we” attempted to enter Kenya and the Sudan to help fight along with their
military. LANG told the CBP officer they were not allowed in the country (Sudan)
because they did not have the proper visa. LANG provided the name of “Alex” as

the person he was detained with in Kenya. LANG also advised the CBP officer that
3
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 6 of 34 PagelD 23

“Alex” was AWOL from the US Army. LANG told the CBP officer he was going to
reside with his mother in Surprise, Arizona.

10. On August 1, 2017, ZWIEFELHOFER arrived at the Charlotte-
Douglas International Airport in Charlotte, North Carolina, where he was
interviewed by an FBI SA and a CBP officer. During this interview,
ZWIEFELHOF ER provided the following information: In September of 2016, he
traveled to France to join the French Foreign Legion (FFL), but soon after left when
he learned more about the FFL and its service commitment. ZWIEFELHOFER
then traveled to the Ukraine, where he met LANG. According to
ZWIEFELHOFER, he and LANG fought with the Right Sector, a volunteer.
battalion-that fought Russian separatists. In 2017, he and LANG traveled to Kenya
because they wanted to fight against Al Shaabab.'! The two subsequently attempted
to enter the South Sudan where they were detained by authorities and eventually
deported to the United States.

11. While ZWIEFELHOFER was at the Charlotte airport, CBP officers
discovered videos on a cellular telephone belonging to ZWIEFELHOFER, which
led to an FBI Task Force Officer (TFO) obtaining a search warrant for electronic
stored data contained within ZWIEFELHOFER’s cellular telephone.
ZWIEFELHOFER was arrested and charged under North Carolina law with five

counts of third degree sexual exploitation of a minor, and was booked into the

' Harakat al-Shabaab al-mujahideen, commonly known as al-Shabaab, is a
fundamentalist militant group based in East Africa.
, 4
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 7 of 34 PagelD 24

Mecklenburg County Jail (MCJ) on August 2, 2017. ZWIEFELHOFER was
released on bond on from the MCJ on November 16, 2017. He then returned to his
hometown of Bloomer, Wisconsin. The State of North Carolina charges are still
pending.

INVESTIGATION AND PROBABLE CAUSE

a. The Crime Scene

12. On Monday, April 9, 2018, at 10:55 p.m., the Lee County Sheriffs
Office (LCSO) received multiple 911 calls for service in reference to reports of rapid
gunfire being heard in the area of Cypress Park Circle, Estero, Florida. LCSO
deputies responded to the area in which the shots were heard but did not find
anything significant. LCSO deputies searched the immediate area, but ultimately
cleared the call for service based upon the fact that they were unable to locate a crime
scene.

13. On Tuesday, April 10, 2018, at 7:14 a.m., the LCSO received a 911 call
in reference to a deceased person found at 9351 Corkscrew Road, Estero, Florida, a
commercial plaza adjacent to the area in which LCSO deputies responded eight
hours earlier for the shots-fired calls for service. Upon arrival at the scene, deputies
found ared GMC truck, with multiple gunshot defects, parked in the middle of the
plaza. During a cursory search of the immediate area, deputies located an obviously
deceased male, suffering from multiple gunshot wounds, lying supine on the ground
next to the front passenger side tire of the truck. The male decedent was later

positively identified as S.L. Deputies also found a female decedent, likewise
5 .
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 8 of 34 PagelID 25

suffering from multiple gunshot wounds, sitting in the front passenger seat of the
truck. The female decedent was later positively identified as D.L. A query of the
truck’s registration yielded an address in Brooksville, Florida, approximately a two-
and-a- half hour drive north of the homicide scene, which was later determined to be
the residence of S.L. and D.L.

14. Dueto the nature of the scene, the LCSO’s Homicide Unit responded
and assumed the investigation. Upon arrival, homicide detectives conducted a walk-
through of the scene, noting that on the ground adjacent to S.L. was a brown leather
wallet, a Florida Driver’s License belonging to S.L., and a bill of sale for a firearms
transaction. Based upon the trajectory and precision of the shot groupings at the
scene, it appeared that the shooting was perpetrated by at least two suspects; one
suspect fired from the rear into the passenger side of the truck where D.L. was
seated, and the other suspect fired towards the front passenger side of the truck where
S.L. was located.

15.. The LCSO’s Forensics Unit also responded to assist with documenting .
the scene, and processing and collecting the evidence. During processing of the
scene, Crime Scene Technicians (CSTs) collected upwards of sixty-three spent shell
casings to include 9mm and LC 17 rifle casings.

16. On April 11, 2018, at approximately 8:30 a.m., a doctor with the Medical
Examiner’s Office performed postmortem examinations on both S.L and D.L. During .

the examination, the doctor noted that S.L. was shot approximately seven times, with

multiple gunshot wounds mostly to the head and to the lower body. The doctor

6
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 9 of 34 PagelID 26

recovered three projectiles from S.L. during the autopsy examination. Additionally,
the doctor noted that D.L. was shot approximately eleven times with multiple gunshot
wounds to the head, neck, and abdomen. The doctor recovered ten projectiles from
D.L. during the examination. The doctor subsequently ruled the causes of death for
S.L. and D.L. as homicide from multiple gunshot wounds.
b. Forensic Examination of Cellular Activity

17. During the preliminary investigation, a cellular telephone belonging to _
S.L. was located at the crime scene. After a search warrant was obtained for the
electronic contents of the cellular telephone, the contents were downloaded by a
LCSO Digital Forensics Specialist. Detectives reviewed the download of the cellular ©
telephone and determined that S.L. and D.L. left Brooksville, Florida just after 7:00
p.m. on April 9, 2018, and traveled down Interstate 75 to the location of the
murders. A review of the download indicated that S.L. and D.L. had traveled to
Estero for the purpose of meeting least one individual to purchase firearms listed for
sale on an Internet website called ARMSLIST. Specifically, a text message thread
showing communication between S.L.’s cellular telephone and a cellular telephone
number believed to be used by the suspect(s) was initiated on April 9, 2018, at
approximately 12:10 a.m., in response to an ARMLIST posting listing a number of
firearms for sale.

18. Further investigation revealed that $.L. was regularly engaged in the
buying and re-selling of real and personal property for profit, otherwise known as

“flipping,” and had intended to purchase these firearms and re-sell them for a profit.

7
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 10 of 34 PagelD 27

On the day of the homicides, S.L. withdrew $3,000.00 in U.S. currency from his
bank account and had brought the currency with him to Estero to purchase the
firearms advertised for sale on the above-referenced ARMSLIST posting, which
included the following: (One) Gen 4 Glock 17, (One) Gen 3 Glock 17, (One) Gen 3 .
Glock 17 with Swenson side treaded (One) barrel, (One) Gen 4 Glock 19, (One)
G3HK91 Clone — Federal Arms, (One) Uzi Pistol .9mm - Group Industries, (Four)
AR1S5 5.56 11in Pistol Uppers, (Four) AR15 Lowers — Complete Wilson Combat,
and (One) Star Pistol .9mm.

19. Based on Detectives’ review of S.L.’s cellular telephone
communications, it appeared as though the suspect(s) traveled to Estero from out of
the area, and changed the location of the meeting with S.L. and D.L. several times
prior to luring S.L. and D.L. to the dark and secluded parking lot at 9351 Corkscrew ~
Road. Based on the contents of S.L.’s cellular telephone, as well as a neighborhood
canvass that included the callers who had initiated the 911 shots-fired calls-for-
service, it is believed that the armed robbery and murders of S.L. and D.L. occurred
at approximately 10:55 p.m. on April 9, 2018.

c. Text Message Communications

20. Starting at approximately 12:10 a.m. on April 9, 2018, in the early
morning hours of the day of the murders, S.L. began communicating by text message
with cellular telephone number (786) 747-9856, which was the contact telephone

number listed in the above-referenced ARMSLIST posting. The following is a
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 11 of 34 PagelD 28

timeline and summary of the text communications between S.L. the individual(s)

using cellular telephone number (786) 747-9856:

April 9, 2018 — Early morning hours of day of homicide

12:10 a.m.: A text message was sent from S.L.'s cellular telephone to the suspect
cellular telephone (786) 747-9856 inquiring about the availability of the firearms.

12:15 a.m.: A multimedia message from the suspect’s cellular telephone to S.L.’s
cellular telephone depicting photographs of the guns to purportedly be sold.

1:04 a.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s
cellular telephone relaying that $.L. could pay cash or with an Oris watch.

1:05 a.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular
telephone indicated not being interested in the watch.

1:08 a.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular
telephone indicated the suspect would take $3,000 if S.L. would meet now as the

suspect would be driving from Naples.

1:10 a.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s °
cellular telephone asking the suspect to call S.L. later in the day.

1:11 a.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular
telephone relayed that the suspect works from 2p to midnight in Naples.

1:14 a.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular
telephone indicated that the suspect told S.L. his name was Jeremy.

April 9, 2018 — Morning into afternoon hours of day of homicide

10:08 a.m.: A text message from the suspect’s cellular telephone. to S.L.’s cellular
telephone that the meeting location will be at 1921 David Blvd, IHOP.

1:59 p.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular
telephone indicating that he’s (the suspect) going to meet someone else for a $5,000 -
deal.

2:10 p.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s
cellular telephone, “I have cash on hand, mine is a sure deal.”
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 12 of 34 PagelD 29

3:05 p.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s
cellular telephone, “did you sell?”

6:38 p.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular
telephone, ‘“‘no, he just flaked on me, we cold (sic) meet”.

6:41 p.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s
cellular telephone in which S.L. indicates that he (S.L.) will call him.

6:59 p.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s
cellular telephone indicating the meeting location would be the Pilot Travel Center in

Punta Gorda.

7:00 p.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular
telephone, “okay.”

7:12 p.m.: $.L. and D.L. left Brooksville to travel to meet for the firearms transaction.

8:32 p.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular.
telephone indicates that he (suspect) ran into bad traffic and “we should arrive 10:45p-

l1p”,

8:39 p.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s
cellular telephone indicating that $.L. should arrive at 9:45 p.m. -

9:25 p.m.: A text message from the suspect’s cellular telephone to S,L.’s cellular
telephone asked if S.L. could meet closer to Naples.

9:42 p.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s
cellular telephone asking to meet at Loves Travel Shop in North Fort Myers, Exit 143.

off of Interstate 75.

10:03 p.m.: A text message from the suspect’s cellular telephone to S.L.’s cellular
telephone indicates that he (suspect) doesn’t live in Naples and only works there. The
text message indicates that he’s already been on the road 5 hours because he had to
drive to Miami and tells S.L. there’s a church in Estero. The address of 21115 Design

Parc Lane was sent.
10:37 p.m.: S.L.’s cellular telephone called the suspect’s cellular telephone.

10:44 p.m.: A text message was sent from S.L.’s cellular telephone to the suspect’s .
cellular telephone that read, “I’m at the church.”

10:44 p.m.: S.L.’s cellular telephone called the suspect’s cellular telephone.

10:55 p.m.: The LCSO received the 911 shots fired calls.

10
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 13 of 34 PageID 30

After 10:55 p.m., there were no further communications from S.L.’s cellular

telephone.

d. The ARMSLIST Posting

21. OnApril 11, 2018, a subpoena was served to ARMSLIST in an effort to
obtain any information behind the creator of the posting to assist with identifying
persons of interest. The ARMSLIST results provided the following information: the
posting, labeled Post #8204183, was created on April 7, 2018, in Miami-Dade,
Florida, and was associated with an email address: jeremygb8441@gmail.com.

22. Detectives then served a search warrant on Google for information
Telated to the Gmail email address, to include obtaining Internet Protocol (IP)
addresses associated with the Gmail account, along with any information that may
lead to a residence or identify a suspect. The results showed an IP address associated
‘with the Gmail account in the middle of the bay area of Miami, Florida, the same area
that the ARMSLIST posting was created. The result also provided some email records
in which the user of jeremygb8441@gmail.com contacted several yacht brokers in the
Miami area in order to set up a meeting to view expensive yachts. The emails indicated
the meetings to view the yachts were to take place on April 8, 2018.

23. Detectives determined that the telephone service provider (TSP) for
cellular telephone number (786) 747-9856, which was used by the individual(s)
facilitating the firearms transaction with S.L., was Tracfone Wireless. Tracfone
Wireless cellular telephones are prepaid and do not require a subscriber’s name. A

search warrant was served upon the TSP for records pertaining to telephone number
ll
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 14 of 34 PagelD 31

(786) 747-9856. The cellular telephone number was determined to be a Tracfone SIM
card, on the AT&T network, sold through Walmart, as a “Bring Your Own Device”
plan.

e. Identification of Alex Jared ZWIEFELHOFER

24. An additional search warrant for the suspect’s cellular phone records for
number (786) 747-9856 resulted in obtaining an International Mobile Equipment
Identity (IMEI) number? associated with the device used with the Tracfone SIM card
(IMEI: 358533051468). Subpoena results from AT&T for IMEI: 358533051468 and
‘the records for this device revealed the subscriber as Alex Jared ZWIEFELHOFER, a.

white male born in 1997, with email address AZ4721@gmail.com. The records further

confirmed that the day prior to the homicide, ZWIEFELHOFER was utilizing AT&T
phone number (715) 404-0337, on the same IMEI device that was utilized by telephone
number (786) 747-9856. An analysis of the records received from the TSP indicated
that on April 7, 2018, at 9:40:35 p.m., someone removed the SIM card (which was.
associated with IMSI° number 310410034020606) clearly affiliated with phone
number (715) 404-0337, and placed the Tracfone SIM card (which was associated with

IMSI number 310410969230354), clearly affiliated with the suspect’s cellular

? The IMEI number is useful to investigations in that it is a 15- to 17-digit code attached’
to a device that acts as a unique identifier as long as it is associated with a subscriber.

The IMEI number associated with a particular device may then be tracked by use of
cell towers and GPS coordinates revealing locations of an individual in possession of
that device.

> IMSI stands for International Mobile Subscriber Identity.
12
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 15 of 34 PagelD 32

telephone number (786) 747-9856, inside the device that ZWIEFELHOFER was
previously utilizing. Records for both ZWIEFELHOFER’s personal cellular telephone
‘number ((715) 404-0337) and (786) 747-9856 were then placed into CellHawk, a
software program used to generate geolocations of cellular activity from specific
-cellular telephone towers in an area, ultimately revealing the approximate whereabouts
of the device by way of “pings.” In doing so, it was determined during the time of the
SIM card switch on April 7, 2018, at 9:40:35 p.m., ZWIEFELHOFER’s personal
cellular telephone ((715) 404-0337) pinged at the same location as (786) 747-9856 did
twenty minutes later, at 10:00:59 pm. The location of both pings, in the same
geolocation, placed the one common phone (IMEI: 35853305 1468) using the two
different SIM cards in Miami, Florida.
25.  S.L.’s cellular telephone records and the records for (786) 747-9856 were
also entered into CellHawk. This revealed that both S.L.’s cellular telephone and (786)
747-9856 pinged near the homicide scene during the time of the shots fired call for
Service on April 9,2018. Telephone records also showed that S.L.’s cellular telephone
was used to make a short voice call to (786) 747-9856 at 10:46 p.m. Location data
indicated that S.L.’s phone and (786) 747-9856 were pinging inside the homicide scene
just prior to shots being heard.
26. LCSO detectives served a search warrant on Google and Facebook for
ZWIEFELHOFER’s personal Gmail account, AZ4721@gmail.com, and Facebook
account in order to determine with whom ZWIEFELHOFER was communicating

leading up to, during the commission of, and after the homicide; what

13
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 16 of 34 PagelD 33

ZWIEFELHOFER’s search histories indicated; and any information further linking
ZWIEFELHOFER to the armed robbery and murders of S.L. and D.L.

f Identification of Craig Austin LANG

27. Upon receipt of the records from Google and Facebook, it was
determined that ZWIEFELHOFER was communicating frequently, as well as making
travel arrangements to Miami, Florida, with LANG. LANG was found to be using
cellular telephone number (480) 678-7349, which records showed was in
communication with ZWIEFELHOFER’s personal cellular telephone number ((715)
404-0337). A search warrant was also served on LANG’s TSP and Facebook account.
Through further research into the social media and phone records, detectives
discovered that ZWIEFELHOFER and LANG began their travels to Florida just prior
to the homicides and ultimately traveled to Miami, Florida on April 5, 2018 Gust four
days prior to the armed robbery and murders). Through these records, detectives
concluded that ZWIEFELHOFER and LANG would mainly communicate through |
Facebook Messenger.

28. Beginning around mid-March of 2018, Facebook Messenger messages
showed that both ZWIEFELHOFER and LANG planned to travel to Florida
together. During their communications, ZWIEFELHOFER and LANG discussed
checking out a military surplus store in Miami, purchasing body armor, committing
robberies, hotwiring and stealing boats and/or a yacht, escaping to South America or
Ukraine and smuggling firearms and ammunition. ZWIEFELHOFER and LANG

sent photographs of firearms back and forth to one another. Additionally, a message

14
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 17 of 34 PagelD 34

to ZWIEFELHOFER from LANG indicated they would have -.?mm ammunition.
with them as well as Glock 17 magazines. The Glock 17 is a semi-automatic handgun
that fires .9mm ammunition; .9mm ammunition was found at the murder scene. Glock
17s were listed for sale on the ARMSLIST posting.

29. LANG also made several comments on his Facebook account that his
mother would be driving him from her residence in Surprise, Arizona, to North.
Carolina, where she was relocating. Beginning on or about March 24, 2018, LANG’s
personal cellular telephone ((480)-678-7349) pinged through the State of Arizona, and
pings showed LANG'’s cellular telephone traveling down to Texas, through Louisiana,
into Alabama, and over to North Florida. On April 4, 2018, LANG then
communicated through Facebook that he had obtained a Greyhound bus ticket. .
Greyhound records showed that LANG was to depart at 6:00 a.m. on April 4, 2018
fom Orlando, Florida and travel to Miami, Florida. An analysis of LANG’s phone
pings show that his cellular telephone ((480)-678-7349) traveled as described above
and placed him in the Orlando area during the time he was set to depart on the
Greyhound bus for Miami.

30. ZWIEFELHOFER noted in his Facebook communications that he took
4 Greyhound bus from Minneapolis/St. Paul, Minnesota, and traveled to Miami on
April 5, 2018. ZWIEFELHOFER was residing in Bloomer, Wisconsin, at the time of
his travel. Minneapolis/St. Paul is the nearest major metropolitan area to Bloomer,
Wisconsin. An analysis of ZWIEFELHOFER’s phone pings ((715) 404-0337) during |

this time period showed ZWIEFELHOFER’s cellular telephone traveling through
15
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 18 of 34 PagelID 35

Wisconsin, Illinois (Chicago), Indiana, Kentucky, Tennessee (Nashville), down to
Georgia (Atlanta) and into the North Florida area.

. 31. Detectives learned through a review of the records that
ZWIEFELHOFER and LANG continued their communication during their bus
travels, and on April 4, 2018, Facebook messages between ZWIEFELHOFER and
LANG reflected their arrival times in Florida as well as coordination of their routes to
make sure they were on the same bus once their stops placed them both in Florida.

32. On April 4, 2018, LANG communicated to ZWIEFELHOFER that he
(LANG) was in possession of ammunition in his travel bag and was fearful the police
K-9s at his bus stop were going to sniff it out. Later that day, phone pings and call
detail records of ZWIEFELHOFER’s and LANG’s respective cellular telephones |
placed them together at 205 S. Tamarind Avenue, West Palm Beach, Florida, the
location of the Greyhound Station. ZWIEFELHOFER’s and LANG’s .
communications then indicated they were on the same bus headed for their final
destination: Miami, Florida.

33. Beginning on April 5, 2018, through the afternoon of April 9, 2018, prior
to the (786) 747-9856 phone pings showing the travel from Miami to Estero, Florida,
LANG’s cellular telephone ((480) 678-7349) and ZWIEFELHOFER’s cellular .
telephone ((715) 404-0337), pinged frequently together in the vicinity of the La Quinta
Inn, 7401 NW 36" Street, Miami, Florida. Records received from the La Quinta Inn
showed that LANG checked into the hotel on April 5, 2018, at 7:12 a.m., and was"

assigned room 210 for two guests under reservation number 478789. The hotel records

16
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 19 of 34 PagelD 36

further revealed that LANG presented his photo identification, which was scanned
during the hotel registration process by the manager, and that LANG provided his
email address, his credit card for payment, and cellular telephone number as (480) 678-
7349, matching the cellular telephone number he was in possession of during the
timeframe leading up to the homicides. Photographs observed on both
ZWIEFELHOFER and LANG’s Facebook Messenger communications showed
them wearing tropical shirts while taking “selfies” inside what appeared to be a hotel
room with distinct purple, black, and white décor. LCSO detectives obtained an.
interior photograph of the La Quinta hotel room that LANG rented. The photograph
of the hotel room rented by LANG matched the interior of the room depicted in the
images posted by ZWIEFELHOFER and LANG on their Facebook accounts during
the time period that the hotel room was rented to LANG.

34. Records show that on April 7, 2018, LANG’s cellular telephone number -
((480) 678-7349), ZWIEFELHOFER’s personal cellular telephone number ((715) 404-
0337) and the suspect number (786) 747-9856 (using one common IME]), all pinged
in the same location, placing the two telephones (the telephone using (480) 678-7349
and the telephone using (715) 404-0337 and later (786) 747-7349) at the La Quinta Inn.
I believe that during the evening of April 7, Z2WIEFELHOFER removed the SIM card .
for number (715) 404-0337 from his personal cellular telephone and inserted the
Tracfone SIM card for number (786) 747-9856, as the (786) 747-9856 number
thereafter began to ping as it traveled alongside LANG’s cellular telephone for the

remainder of that day. The pings indicated that LANG’s cellular telephone and (786)
17
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 20 of 34 PageID 37

747-9856 were pinging in the same area in Miami, including near an Army Surplus
Store (previously referenced in ZWIEFELHOFER’s and LANG’s Facebook
communications concerning them purchasing Ruck Sacks, ammunition, and body
armor) as well as the Miami bay area, where various yachting businesses were located.

35. OnApril 8, 2018, LANG’s cellular telephone pinged alongside (786) 747-.
9856 as the pings ‘traveled towards the bay area again. Email records for the
jeremygb8441@gmail.com account, which was associated with the ARMSLIST
posting, show that this was the same day the individual(s) using that email address
contacted several yacht brokers to meet for a boat tour.

36. N otably, LANG’s Facebook records showed photographs posted to
LANG’s Facebook account that were an exact match of photographs sent by (786)
747-9856 to S.L.’s cellular telephone during the time they were communicating about
the firearms transaction. One particular photograph depicted what appeared to be an
Army green Glock Gen 3, which was listed as for sale on the ARMSLIST posting.

37. ZWIEFELHOFER’s Google records showed he searched for the
following key phrases during the timeframe that he and LANG were in Miami prior
to the SIM card switch and prior to the murders: Miami ARMSLIST, Classified
Miami Handguns, Hotwire Boat Ignition Switch, Cheapest Hotels Miami, How to’
Smuggle Myself to South America, as well as multiple searches of videos to include a
particular scene from a movie in which subjects were shown inside a vehicle and then

ambushed by multiple shooters. A review of this video was important in that the

18
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 21 of 34 PagelD 38

homicide scene in Estero, Florida was consistent with the tactical approach of the
shooters and the trajectory of the gunshot defects depicted in the movie.

38. On April 9, 2018, both LANG’s cellular telephone and (786) 747-9856

‘continued to ping together in the Miami area until later that evening. At
approximately 7:00 p.m., (786) 747-9856 began to travel; LANG’s cellular telephone
was presumably turned off at this time as there was no call, text, or ping activity. At
approximately 7:48 p.m., (786) 747-9856 began to ping as it traveled out of Miami and
headed west towards Southwest Florida. A text message from (786) 747-9856 to S.L.

cellular telephone at 8:48 p.m. read, “WE should arrive 10:45p-11:00p” (emphasis
added). The (786) 747-9856 number continued to ping along Alligator Alley (the
section of Interstate 75 between Broward County and Collier County) into Naples,

arriving near the Corkscrew Road exit for Estero just before 10:00 p.m., approximately
forty-five minutes before the scheduled meeting. S.L.’s cellular telephone pings

‘coincide with the (786) 747-9856 pings as the phones traveled simultaneously to the
scene of the homicide from their respective starting locations. A text message from
(786) 747-9856 to S.L.’s cellular at 10:03 p.m. indicated that the final meet location

would be 21115 Design Parc Lane at a church in Estero. At 10:37 p.m., S.L.’s cellular
telephone made a voice call to (786) 747-9856. Seven minutes later, S. L.’ S cellular

‘telephone sent a text message to (786) 747-9856: “I’m at the church.” S.L.’s cellular
telephone then made a voice call to (786) 747-9856 at 10:44 p.m., with the call lasting.
for only a few seconds. Nine minutes later, multiple 911 callers adjacent to this area

heard a volley of gunfire and called 911. At 10:46 p.m., both (786) 747-9856 and S.L.’s
19
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 22 of 34 PagelD 39

cellular telephone pinged inside in the area of the homicide scene. Ten minutes after
shots were heard, (786) 747-9856 pinged traveling southbound from the Estero exit
near Bonita Beach Road, which was one exit south from the homicide scene. The
(786) 747-9856 then showed a constant ping for approximately forty (40) minutes in
‘that area before all activity and ping data ceased. S.L.’s phone had no further

communications after the volley of gunfire.

39. In addition to the above, LCSO detectives have been able to corroborate
through other evidence that ZWIEFELHOFER and LANG both traveled from their
respective residences to Miami, Florida, and were together in Miami, Florida, during

‘the relevant time frame. ZWIEFELHOFER’s and LANG’s Facebook
communications also stated that they would be in possession of firearms in Miami and
would commit robberies and kill a yacht owner, if necessary.

40. ZWIEFELHOFER’s and LANG’s personal cellular telephone call detail
records also indicated that during the time period from April 5, 2018 through April 9,

2018, they were in communication with telephone numbers subscribed to by their
family, friends, and close associates, indicating that they (ZWIEFELHOFER and
LANG) were the ones using their respective cellular telephones during this time
period, and no one else.

41. As mentioned above, S.L.’s bank records reflect that he withdrew $3,000
‘in U.S. currency on or about April 9, 2018, which was the final price agreed upon by-
S.L. and the individual(s) using (786) 747-9856 for the purported sale of the firearms

listed on ARMSLIST. The $3,000 in currency that $.L. and DL. brought with them
20 .
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 23 of 34 PagelD 40

- for the firearms transaction in Estero was not found at the scene, giving rise to probable
cause that the murders were committed in furtherance of a robbery, which interfered
with commerce by violence.

g. Social Media
42. Upon reviewing Facebook records related to ZWIEFELHOFER and

. LANG obtained via search warrants, LCSO detectives saw that ZWIEFELHOFER
posted a partial photograph to his Facebook account of a Greyhound boarding pass
dated April 2, 2018, indicating the location of origin to be Minneapolis, Minnesota,

and the destination to be Miami, Florida. As noted above, Minneapolis is the closest
major city to Bloomer, Wisconsin, where ZWIEFELHOFER was residing.

43. LCSO detectives also found in the records several photographs posted on

April 6, 2018, just three days prior to the murders, of both ZWIEFELHOFER and
LANG wearing “Hawaiian” style shirts. LANG appeared to take a “selfie”
photograph wearing a white short-sleeve, button down t-shirt with navy and light blue
hibiscus flowers and leaves printed throughout. In the same photograph of LANG, in

.the background lying on the bed behind him, is a black “Hawaiian” style shirt
containing yellow, pink, red, and green martini glasses. On the same date, a
photograph of ZWIEFELHOFER was posted to ZWIEFELHOFER’s Facebook page

of ZWIEFELHOFER wearing the black “Hawaiian”-style martini glass shirt which
was in the background of LANG’s photograph. ZWIEFELHOFER sent this

.photograph to an associate with whom he was communicating with in reference to

ZWIEFELHOFER being in Miami, Florida.
21
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 24 of 34 PagelID 41

44.. LCSO detectives were able to observe the room that LANG rented at the
. La Quinta Inn located at 7401 NW 36" Street, Miami, Florida. The room’s interior
décor appears to match the background of the photograph depicting
ZWIEFELHOFER wearing the “Hawaiian”-style martini glass shirt sent via
- Facebook.
A. Interview of Lang’s Associate and Additional Travel Records
45. On May 21, 2019, LCSO detectives traveled to a prison in Missouri
where they interviewed an associate of LANG’s (hereinafter referred to as M.S.M_.).
M.S.M. served in the U.S. Army with LANG. According to M.S.M., sometime
around August of 2018, M.S.M. met LANG at a mutual friend’s residence in St.
Louis, Missouri. LANG told M.S.M. that LANG gunned down some people in
_ Miami, Florida. LANG told M.S.M. that he had been in Florida with some guy who
is from Wisconsin. LANG told M.S.M. that he and the other guy unloaded both of
their clips into the “dude’s” red truck. LANG showed M.S.M. a news article on
LANG’s cellular telephone about a murder. LANG told M.S.M. that he and the
other guy from Wisconsin traveled from Florida to Washington state after the
shooting. MSM. told detectives that LANG told him that LANG had hidden two -
of the handguns used in the murder, a Glock 17 and Glock 19, in his mother’s house
in North Carolina. M.S.M. advised that LANG later traded the handguns to an
individual in North Carolina in exchange for the individual’s personal identification
information. M.S.M. told detectives that M.S.M. was supposed to go to Miami with

_LANG to be part of a group that was to travel by boat overseas. M.S.M. did not go
22
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 25 of 34 PagelD 42

to Miami because M.S.M. was arrested on April 2, 2018 on an outstanding warrant.
Upon M.S.M. being released from custody, he and LANG traveled together from
. Missouri to North Carolina in August 2018. M.S.M. and LANG later traveled
separately to Bogota, Colombia. LANG told M.S.M. that LANG was going to join.
combat forces opposed to the Venezuelan government. M.S.M. advised that LANG
"was going to join a Venezuelan resistance group. M.S.M. told detectives the
resistance group LANG joined was able to obtain firearms from law enforcement in
_ Bogota. M.S.M. advised that the resistance group had a safe house in the mountains
of Cucuta, Colombia. The group planned to cross into Venezuela and fight against .
the Venezuelan government. LANG got on a bus to travel to Cucuta for the purpose
of traveling to Venezuela to engage in combat against the Government of Venezuela.
According to M.S.M., he left LANG in Bogota because M.S.M. did not want to kill
_ people.
46. Based on my training and experience, I know that CBP maintainsa ~
database of travelers who enter the United States via international airports from
foreign countries. This database also contains records of travelers who depart the
United States from international airports for foreign countries. I also know that CBP
has liaison relationships with certain foreign customs agencies and shares travel
records with these agencies. A Homeland Security Investigations (HSI) SA provided.
information to me indicating that there was a record showing LANG departed
‘Mexico City, Mexico, for Bogota, Colombia, on September 25, 2018. There was also

a record that LANG thereafter departed from Colombia on November 23, 2018, for .
23
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 26 of 34 PagelD 43

Madrid, Spain. HSI advised that the CBP has no record of LANG re-entering the .
United States after his departure from Mexico to Colombia. A review of a social
media account associated with LANG indicates that he is currently in Ukraine.

47, The Bolivarian Republic of Venezuela is a sovereign nation located in
South America. The Bolivarian Republic of Venezuela borders Colombia to the
west. Cucuta, Colombia, is a city in Colombia located near the border of the

Bolivarian Republic of Venezuela. The United States is at peace with the Bolivarian
Republic of Venezuela.

48. ALCSO Crime Analyst determined from a commercial database that ~
LANG conducted a pawn transaction involving firearm receivers at Palace J ewelry
and Loan, 1420 1* Avenue, Seattle, Washington, on May 23, 2018. At my request,

FBI SAs in Seattle went to Palace J ewelry and Loan to interview employees and
obtain records pertaining to this pawn transaction. On May 10, 2019, FBI SAs went
_to this location and determined that LANG sold three firearm receivers to Palace
Jewelry and Loan on May 23, 2018. LANG sold two lower rifle receivers and one
upper rifle receiver. A lower rifle receiver connects to the upper receiver and includes
‘the trigger group, buffer tube, magazine release, safety selector, bolt catch and all
other necessary components. An upper rifle receiver is the part that consists of the
barrel, forend, bolt carrier group and charging handle. The upper receiver attaches to’
the rifle’s lower receiver to form a fully functional rifle. All of the receivers were 5.56
caliber. This caliber is consistent with the rifle rounds that were fired at the scene of

‘the murders. In addition, FBI SAs determined that LANG sold 671 rounds of 5.56
24
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 27 of 34 PagelD 44

caliber ammunition on May 23, 2018, to Palace Jewelry and Loan. The ammunition
LANG sold was still at Palace Jewelry and Loan when FBI SAs interviewed
employees. Palace J ewelry and Loan voluntarily turned the ammunition over to the
FBI. The ammunition casings were stamped LC 17, which is the same stamp found
_on the expended rifle casings at the scene of the murders. Palace Jewelry and Loan
sold the firearm receivers purchased from LANG to several different individuals. The
FBI was able to locate the different purchasers in three different states. The three
firearm receivers are now in the possession of law enforcement.
i Search of ZWIEFELHOFER’s Residence
49, While residing in Bloomer, Wisconsin, on March 25, 2019,
ZWIEFELHOFER attempted to purchase a firearm by filling out a Bureau of
Alcohol Tobacco and Firearms (ATF) Form 4473 during the attempted purchase at
Tilden Gun, 12427 98" Avenue, Chippewa Falls, Wisconsin 54729,
ZWIEFELHOFER listed his Bloomer, Wisconsin address on the form. Based on
. ZWIEFELHOFER’s response to question(s) on the form, on May 15, 2019, a federal
grand jury in the Western District of Wisconsin indicted ZWIEFELHOFER for
knowingly making a false statement and representation to Tilden Gun, in violation
of 18 U.S.C. § 924(a)(1)(A), Case Number 3:19-cr-00057-jdp.
50. On May 21, 2019, United States Magistrate Judge Stephen L. Crocker,
Western District of Wisconsin, authorized a search warrant for the search of

ZWIEFELHOFER’s residence in Bloomer, Wisconsin.

25
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 28 of 34 PagelD 45

51. On May 23, 2019, FBI personnel executed the search warrant at
ZWIEFELHOFER’s residence. FBI personnel located a “Hawaiian”-style martini
glass shirt located in ZWIEFELHOFER’S bedroom closet, which shirt appeared

- identical to the one worn by ZWIEFELHOFER in the selfie photograph that was
most likely taken in a room located within the La Quinta Inn in Miami, Florida. FBI

personnel also located a Dell Inspiron laptop computer on the floor of
ZWIEFELHOFER’s bedroom near the bed and seized it pursuant to the search
warrant. The Dell Inspiron laptop was logged into evidence in the FBI’s Milwaukee

- Office, then sent to the FBI’s office in Tampa, Florida, and then onto the FBI’s
Office in Fort Myers.

52, On May 23, 2019, ZWIEFELHOFER was arrested by ATF agents in |
Chippewa Falls, Wisconsin pursuant to the indictment issued in the Western
District of Wisconsin for knowingly making a false statement on an ATF Form 4473.

53. After his arrest, law enforcement officers transported ZWIEF ELHOFER
to the Eau Claire, Wisconsin Police Department, where I and LCSO Detective Sarah
Rodriguez met with ZWIEFELHOFER in an interview room and conducted a post-
Miranda interview of him. The interview was recorded by a video recording system.
ZWIEFELHOFER freely and voluntarily provided the following information to me

-and Detective Rodriguez: In 2016, ZWIEFELHOFER traveled to the Ukraine to fight
as a combatant for a foreign paramilitary group in the Eastern part of the Ukraine.

There, Z2WIEFELHOFER met LANG as LANG was in the Ukraine fighting for this

same paramilitary group. In 2017, ZWIEFELHOFER traveled with LANG to Africa,
26
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 29 of 34 PagelD 46

where they were detained by African authorities and both eventually deported to the
_ United States. ZWIEFELHOFER admitted to traveling to Florida from Minnesota
via Greyhound bus in April of 2018. ZWIEFELHOFER also advised that LANG
traveled from Arizona to Florida in April of 2018. ZWIEFELHOFER. stated that he
~and LANG met in Florida and the two traveled aboard a Gréyhound bus bound for
Miami, Florida. LANG brought firearms, firearm magazines and ammunition with
_him from Arizona. ZWIEFELHOFER advised that he and LANG had planned to
take a boat from Miami to Venezuela to fight the Venezuelan government. LANG
transported the. firearms and ammunition with him from Arizona for

- ZWIEFELHOFER and LANG to use in combat in Venezuela.
54.  ZWIEFELHOFER further advised that he and LANG stayed at the La
Quinta Inn in Miami, and that LANG had rented a room for them at the La Quinta
Inn. ZWIEFELHOFER indicated that the two ran out of money after a short period
of time and could no longer afford the room at the La Quinta Inn. ZWIEFELHOFER
Stated that he and LANG had to leave the motel and stay overnight in a public dog
park in Miami. ZWIEFELHOFER advised that the park’s sprinkler system came on
while the two were in the park causing ZWIEFELHOFER’s cellular telephone to
become wet. ZWIEFELHOFER stated that his cellular telephone was damaged by the
water, so he went to a Walmart in the Miami area and obtained another cellular
‘telephone. ZWIEFELHOFER could not recall the telephone number of the cellular
telephone he brought with him to Florida from Wisconsin. ZWIEFELHOFER also

could not recall the telephone number of the cellular telephone he purchased in Miami.

27
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 30 of 34 PagelD 47

‘However, ZWIEFELHOFER denied traveling to Southwest Florida during his stay in
Florida in April of 2018. ZWIEFELHOFER advised that he had communicated with
LANG since returning to Wisconsin after having traveled to . Florida.

‘ZWIEFELHOFER admitted to using the email address, AZ4721@gmail.com in the
past. ZWIEFELHOFER claimed he was locked out of this email account some time

-ago and had not been able to use it.

55. On May 23, 2019, LCSO detectives and an FBI TFO interviewed J.Z.
in Bloomer, Wisconsin, with whom ZWIEFELHOFER was residing. J.Z.
voluntarily provided the following information: ZWIEFELHOFER returned to
Bloomer after being released from jail in North Carolina. ZWIEFELHOFER left

-Bloomer and went to Florida with his friend “Craig.” ZWIEFELHOFER, “Craig” —
and others were supposed to take a boat to Venezuela to fight in combat.
ZWIEFELHOFER’s and “Craig’s” plan to travel to Venezuela and fight in combat .
did not work out because the boat captain got murdered.

j Bank and Rental Car Records

56. I obtained records from Bank of America pertaining to a checking
account number ending in 6026 held by LANG. The debit card number associated
with this account ended in 1022. I noted a debit card transaction dated April 7, 2018, .
for Inveradrian Rent a Car, Miami, Florida, in the amount of $165.00, as well as a
debit card transaction dated April 7, 2018, in the amount of $53.88, at a Walmart
store located at 8651 Northwest 13" Terrace, Doral, Florida, which is located

approximately three miles from the La Quinta Inn, 7401 NW 36" Street, Miami.
28
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 31 of 34 PagelD 48

57. On May 30, 2019, an FBI TFO and LCSO detectives went to Miami
‘and obtained records from Inveradrian Rent a Car, including a Rental Agreement
indicating that LANG rented a Toyota Corolla, Florida license plate number DIY- .
U73 on April 7, 2018, and returned it on April 10, 2018. The rented Toyota Corolla
was delivered to LANG at the La Quinta Inn, 7401 NW 36" Street, Miami. On May
31, 2019, I met with an employee of Inveradrian Rent a Car in Miami and observed
‘the Toyota Corolla, Florida license plate number DIY-U73. The Toyota Corolla was
a four-door car and red in color. I observed that there was a SunPass transponder,
with transponder number 1467345801, affixed to the interior windshield of the
Toyota Corolla. Inveradrian Rent a Car confirmed that this same SunPass
transponder was in the red Toyota Corolla during the time period that the car was
rented to LANG in April 2018.

58. I then obtained records from the Florida Department of Transportation -
(FDOT) for the aforementioned SunPass transponder and red Toyota Corolla. The
records indicate that the aforementioned SunPass transponder and Toyota Corolla
traveled on Everglades Parkway West (Interstate 75-Alligator Alley Westbound) on
April 9, 2018, at 7:57 p.m. The FDOT records indicate the aforementioned SunPass
transponder and Toyota Corolla traveled on Everglades Parkway East (Interstate 75-_
Alligator Alley Eastbound) on April 9, 2018, at 11:59 p.m. The murders of S.L. and
DL are believed to have been committed on April 9, 2018, at approximately 10:55
p.m. The times and locations of the cellular telephone pings for the suspect phone

number (786) 747-9856 on April 9, 2018, as described in detail above in this affidavit,
29
Case 2:19-mc-00019-JES-KCD Document1-1 Filed 12/11/19 Page 32 of 34 PagelD 49

“are consistent with the times and locations of travel depicted in the SunPass
transponder records.

59.  T also obtained records from Walmart related to the purchase made on
April 7, 2018, at the Walmart in Doral, Florida, in the amount of $53.38, with the
debit card number associated with LANG’s Bank of America account. Walmart —

. provided records indicating this debit card was used to purchase a Tracfone SIM
card, Phone Card Activation number 8407980000002008315755, on April 7, 2018, at
7:38 p.m. at the Walmart store located in Doral, Florida.

60. Records that I obtained from Tracfone Wireless showed that the SIM
card associated with telephone number (786) 747-9856 is the Tracfone SIM card
‘purchased with LANG’s debit card at the Walmart in Doral on April 7, 2018, as the
Serial Mobile PIN Number matches the last ten digits of the Phone Card Activation
number (2008315755) indicated in the Walmart records.

61. Further, the electronic stored data on the Dell Inspiron laptop computer
that was recovered from ZWIEFELHOFER’s bedroom during the search warrant
‘was examined by an FBI Computer Analysis Response Team Field Examiner (FE)
pursuant to the search warrant. Within the Dell Inspiron laptop computer, the FE
found electronic stored data that indicated the computer was used to create
ARMSLIST posting #8204183 on April 7, 2018. The electronic stored data also
indicated that the name “ALEX ZWIEFELHOFER” was searched numerous times .
using the Internet search site Google, and that someone used the computer to access

a Facebook account in the name of Jeremy Goldstein. The profile picture of the

. 30
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 33 of 34 PagelD 50

“Jeremy Goldstein” F acebook account is a photograph of ZWIEF ELHOFER, the
background of which appears to be the La Quinta Hotel room where he and LANG
stayed in Miami. Among other things, the electronic stored data of the Dell Inspiron
- laptop computer also showed that someone drafted a book about “CRAIG’s” life,
which mentioned travel to the Ukraine.
CONCLUSION
62. Based on the information contained herein, I respectfully submit that
there is probable cause to believe that ALEX JARED ZWIEFELHOFER and
‘CRAIG AUSTIN LANG violated 18 U.S.C. § 1951(a) (Conspiracy to Commit
Interference with Commerce by Violence); 18 U.S.C. §§ 1951(a) and Section 2
(Interference with Commerce by Violence); and 18 U.S.C. §§ 924(c)(1)(A)(iii), (j) and
(0) (Conspiracy to Use and Carry a Firearm During and In Relation to a Crime of
Violence) (Use and Discharge of a Firearm During and in Relation to a Crime of
‘Violence, which caused the death of a person).
WHEREFORE, I respectfully request that this Court authorize a Criminal
Complaint for the arrest of ALEX JARED ZWIEFELHOFER and CRAIG

AUSTIN LANG for the above violations of Federal law.

31
Case 2:19-mc-00019-JES-KCD Document 1-1 Filed 12/11/19 Page 34 of 34 PagelD 51

This completes my affidavit.

Vm Qo

ies mes M. Roncinske
Special Agent ©
Federal Bureau of Investigation:

Sworn and subscribed to me on this [6 day of August, 2019.

Nicholas P. Mizell ,

United States Magistrate Judge .
Middle District of Florida
Fort Myers Division

32
